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APR 25 2005

Ms. Francine Hall

President SENT BY CERTIFIED MAIL

Si Tanka University RETURN RECEIPT REQUESTED
435 North Elm Street Receipt #: 700125 10000266263878

P.O, Box 220 OPE ID: 03019200

Eagle Butte, SD 57625-0220
Dear Ms. Hail:

Si Tanka University (Si Tanka) is hereby advised that the United States
Department of Education (Department) is revoking the provisional program participation
agreement (PPA) it executed with the Department. The Department has determined that
Si Tanka has failed to meet its responsibilities under the PPA. The PPA is enclosed as
Enclosure 1. See 34 C.F.R. §668.13(d)(1). With this revocation, the Department has
established that Si Tanka lost eligibility and thereby ended its PPA on April 9, 2005,
which is the date the school filed for Chapter 11 Bankruptcy relief. 34 C.F.R. §
600.7(a)(2)(A). Following the loss of eligibility and end of its PPA, an institution may no
longer participate in the student financial assistance programs authorized pursuant to
Title IV of the Higher Education Act of 1965, as amended, 20 U.S.C. 881070 et s seq. and
42 U.S.C. §§2751 et seq. (Title TV, HEA programs). 34 C.F.R. §668.26(a)(4).

In particular, Si Tanka is no longer eligible to participate in the following Title
IV, HEA programs: Federal Pell Grant (Pell), Federal Supplemental Education
Opportunity Grant (FSEOG), Federal Work Study (FWS), Federal Perkins Loan (Perkins
Loan), Federal Direct Student Loan (Direct Loan), and Federal Family Education Loan
(FFEL) programs. The Direct Loan Program includes the Federal Direct Stafford/Ford
Loan Program, the Federal Direct Student Unsubsidized Stafford/Ford Loan Program and
the Federal Direct PLUS Program. The FFEL Program includes the Federal Stafford
Loan (Stafford) Program, and the Federal PLUS (PLUS) Program. The FSEOG, FWS,
and Perkins Loan programs are known as the campus-based programs.

In addition, with this revocation, $i Tanka is responsible for complying with each
regulatory requirement that has been established for institutions that end their Title IV,
HEA program participation. .34 C.F.R. §668.13(d)(2)(iii). Specifically, among other
itemized responsibilities, Si Tanka must submit to the Department within 45 days of this
revocation becoming final, all financial, performance and other reports required by the
Title IV, HEA regulations, as well as a letter of engagement for an independent audit of
all funds that the institution received under the Title IV, HEA programs, 34 C.F.R.
§668.26(b)(2). The school must submit this closeout audit report within 45 days after the

Application, School Eligibility and Delivery Services,
School Eligibility Channel, School Participation Team, NE,
Union Center Plaza #3, 830 First Street, N.E,, Washington, D.C, 20202

EXHIBIT 1
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letter of engagement.’ 34 C.F.R. §668.26(b)(2)(ii). In addition, Si Tanka shall inform
the Department of the arrangements that it has made for the retention and storage of its
records, 34 C.F.R. §668.26(b)(3). Si Tanka must continue to distribute refunds according
to 34 C.F.R. §668.22. 34 C.F.R. §668.26(b)(7). Note specifically that with respect to its
Federal Perkins Loan portfolio, Si Tanka must return to the Department the Federal share
of the cash on hand in its Federal Perkins Loan portfolio and assign to. the Department all
outstanding Federal Perkins Loans. More detailed instructions on these processes are
enclosed in Enclosure 2.

By executing the provisional PPA, Si Tanka affirmed that it would comply with
all applicable regulatory and statutory provisions governing the administration of the
Title IV, HEA programs. See Enclosure 1. Si Tanka also expressly agreed that a cause
for revocation included, among other things, “‘a violation of Department regulations
deemed material by the Department.” Id. As explained further herein, the Department
has determined that Si Tanka can no longer meet the statutory and regulatory
requirements of an eligible institution. The failures outlined below give the Department.
no assurance that Si Tanka can be a trusted fiduciary of federal funds. Accordingly, Si
Tanka’s provisional PPA is revoked.

On April 9, 2005, Si Tanka filed for Chapter | 1 Bankruptcy relief in the United
States Bankruptcy Court for the District of South Dakota, Central Division (Case #05-
30027). Enclosure 3. To participate in the Title [V, HEA programs, an institution must
demonstrate to the Department that it qualifies to be certified under the provisions of 34
C.F.R. §668 Subpart B. 34 C.F.R. 8668.11(b). In order to meet the requirements for
certification, the institution must qualify as an eligible institution in accordance with the
institutional eligibility regulations set forth in 34 C.F.R. Part 600. 34 C.F.R. §668,13(a).
Further, an institution does not qualify as an eligible institution if it files for relief in
bankruptcy. 34 C.F.R. § 600.7(a)(2)(A). Loss of eligibility due to bankruptcy is
permanent. 34 CLF.R. § 600.7(i)(2). Accordingly, Si Tanka may not reapply for
certification of eligibility to participate in the Title IV, HEA programs under 34 C.F.R.
§668. 13(d)(4)Gi)(A). -

Si Tanka may request reconsideration of this revocation by submitting to the
Secretary, no later than 20 days following receipt of this notice, written evidence to
show that the revocation is unwarranted, 34 C.F.R. §668.13(d)(3)(i). Should Si Tanka
elect to pursue this option, please submit written materials, by overnight mail, to:

Mary E. Gust, Director
Administrative Actions and Appeals Division
U.S. Department of Education

 

' Si Tanka’s closeout audit should cover the period from June 26, 2001 to April 9, 2005, the period for
which the Department has no record of receiving the institution's audit reports. The institution is advised
that in the absence of a closeout audit, it is the Department's policy to assess a repayment liability equal to
the amount of unaudited Title IV funds disbursed for the period in question. In addition, it is the
Department’ s policy to hold any reimbursement requests pending resolution of the institution’s closeout
audit.
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FSA/ASEDS/School EligibiJity Channel
830 First Street, NE

Room 083E3

Washington, DC 20002-5267

_ The Secretary’s designated official will promptly consider Si Tanka’s request for
reconsideration and will notify the institution by certified mail, return receipt requested,
of a final decision. 34 C.F.R. §668.13(d)(4)(i).

If you have any questions regarding this letter, you may contact Sherrie Bell at
(202) 377-3349.

Sincerely,

    

FedetalStudent Aid

Enclosures

Cc: Steven Crow, Executive Director, North Central Association of Colleges and
Schools, Higher Learning Commission
